Case 1:19-cr-202 MEBBMDdO.ABE OED E CK FAIOIDAGND1/06/2020 Page 1 of 1
STATEMENT FORM

Statement of: Case No.

NAME /U (77 ia he i ; O¢/
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Under penalties of perjury, I, _/ i t+ d Ww in (U9 , declare that I have
(Name)
read the foregoing statement, pages one through and that the facts stated init are true and correct.

 

 

C.- DW -wiK Fea \ he)
Date Badge # — /Miaaees Officer

 

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